Case 3:17-cv-01988-BAS-AGS Document 37 Filed 12/18/18 PageID.149 Page 1 of 1




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 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10     DAN DEFOREST,
                                                       Case No. 17-cv-01988-BAS-AGS
11                                  Plaintiff,
                                                       ORDER ADMINISTRATIVELY
12                                                     CLOSING CASE
             v.
13
14     ROYAL SEAS CRUISES, INC.

15                                Defendant.

16         On December 4, 2017, District Judge Anthony Battaglia ordered consolidation
17   of Dan Deforest v. Royal Seas Cruises, Inc., No. 17-cv-1988, with McCurley v. Royal
18   Seas Cruises, Inc., No. 17-cv-00986-BAS-AGS, “into one action[.]” (ECF No. 28.)
19   The order required Plaintiffs to file a consolidated complaint “after which time, the
20   Deforest case shall be dismissed without prejudice.” (Id.) Plaintiffs McCurley and
21   DeForest filed a consolidated complaint in McCurley, adding both Plaintiffs into one
22   action against Royal Seas Cruises, Inc. (ECF No. 31.) Based on the consolidation
23   order and the consolidated complaint, there is only one relevant action and operative
24   complaint.    Accordingly, the Court ORDERS the Clerk of the Court to
25   ADMINISTRATIVELY CLOSE the above-captioned case.
26         IT IS SO ORDERED.
27   DATED: December 18, 2018
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                                                 –1–                               17cv1988
